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UNITED STATES DISTRICT COURT

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SOUTHERN DISTRICT OF NEW YORK N moe eee SONY PILED
SEPTEMBER 11,2001 [DAE AL. Ag 2 a
This document relates to:
| 03 CY 6478 a3) Case No. 03 MDL \570GBD)

Federal Ins., et al

Plaintiffs

v,
Al Qaeda Islamic, ef al.

Defendants

STIPULATION AND ORDER OF DEFENDANT WAEL JELAIDEN TO
EXTEND TIME FOR FILING A RESPONSIVE PLEADING TO PLAINTIFFS’
COMPLAINT
IT IS HEREBY STIPULATED and agreed by Plaintiffs and Defendant Wael
Jelaidan, by and through undersigned counsel, that:
Defendant’s time to answer Plaintiff's Complaint is extended until December 5,

2005.

DATED this 11" day of November, 2005

FOR PLAINTIFFS FOR DEFENDANTS
/s/ /s/
Scott Tarbutton Martin F. McMahon
Cozen O’Connor Martin F. McMahon & Associates
1900 Market St. 1150 Connecticut Ave. N.W., Suite 900
Philadelphia, Pa, 19103 Washington, DC 20036
(215) 665-2000 (202) 862-4343
SO ORDERED

B. Doms

ROW. GEORGE B. DANIELS
